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                           UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA




   SONY MUSIC ENTERTAINMENT, et al.,

                         Plaintiffs,
                                                      Case No. 1:18-cv-00950-LO-JFA
                  v.

   COX COMMUNICATIONS, INC., et al.,

                         Defendants.


   CONSENT MOTION FOR BRIEFING SCHEDULE IN CONNECTION WITH COX’S
     MOTION FOR RELIEF FROM THE JUDGMENT UNDER RULE 60(B)(3) AND
  REQUEST FOR INDICATIVE RULING UNDER RULE 62.1 AND RELATED SEALING
    MOTIONS AND FOR PARTIES AND NON-PARTIES TO EACH FILE A SINGLE
        MEMORANDUM IN SUPPORT OF RELATED SEALING MOTIONS

         Pursuant to Rule 26 of the Federal Rules of Civil Procedure and Local Civil Rule 5(C),

  Plaintiffs, Defendants, and interested non-parties Audible Magic, MarkMonitor, and the

  Recording Industry Association of America (“RIAA”) jointly request the Court’s permission

  (1) to set a briefing schedule in connection with Cox’s Motion for Relief from the Judgment

  Under Rule 60(b)(3) and Request for Indicative Ruling Under Rule 62.1 (the “Rule 60 Motion”),

  and related sealing motions, and (2) to each file a single memorandum in support of requests to

  seal submitted in connection with briefing on the Rule 60 Motion.

         This Consent Motion is based on the following grounds:

         1.     On December 27, 2021, Defendants Cox Communications, Inc. and CoxCom,

  LLC (together, “Cox”) filed the Rule 60 Motion. ECF No. 737.

         2.     In connection with its Rule 60 Motion, Cox filed a Motion to Seal. ECF No. 740.

  The Rule 60 Motion referenced and attached as exhibits documents and information designated



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  by the parties and/or various non-parties as Highly Confidential – Attorneys’ Eyes Only or

  Confidential under the Stipulated Protective Order (ECF No. 58).

          3.      Plaintiffs intend to file an opposition to Cox’s Rule 60 Motion, and Cox intends to

  file a reply in support of its Rule 60 Motion, which they expect will or may attach additional

  confidential information of the same parties and non-parties. Plaintiffs and Cox expect to file

  motions to seal in connection with those briefs, as applicable.

          4.      The parties have agreed to and jointly propose a briefing schedule that provides

  additional time for Plaintiffs to file their opposition and for Cox to file its reply:

                      a. Plaintiffs would file their opposition on February 9, 2022; and

                      b. Cox would file its reply on March 2, 2022.

          5.      In the interest of efficiency, judicial economy, and avoiding inconsistent rulings,

  the parties and non-parties jointly request the Court’s permission to each file one single

  memorandum in support of the numerous requests to seal in connection with the Rule 60 Motion,

  Plaintiffs’ opposition thereto, and/or Cox’s reply in support (collectively, the “Rule 60

  Briefing”). They further request that the information subject to the sealing motions in

  connection with the Rule 60 Briefing be maintained under seal pending resolution of the

  respective seal motions.

          6.      The procedural prerequisites for sealing will still be met. The parties will provide

  a supporting memorandum as required by Local Civil Rule 5(C), but in a consolidated form that

  avoids duplicative filings.

          7.      Granting this motion will not cause any prejudice to the parties or non-parties, nor

  impact the public’s access to judicial records. Each interested party and non-party will still have

  ample notice and an opportunity to reasonably object.




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         8.      Plaintiffs, Defendants, Audible Magic, MarkMonitor, and RIAA all consent to the

  relief requested herein.

         9.      Based on the foregoing, the parties propose the following schedule for the

  remaining Rule 60 Briefing and related motions to seal:

                      Date                                      Deadlines

           February 9, 2022             Plaintiffs’ Opposition to Cox’s Rule 60(b)(3) Motion
                                        (ECF No. 737). Plaintiffs to file a Motion to Seal and
                                        Notice of Sealed Filings, if applicable.

           March 2, 2022                Cox’s Reply in support of its Rule 60(b)(3) Motion (ECF
                                        No. 737). Cox to file a Motion to Seal and Notice of
                                        Sealed Filings, if applicable.

           March 9, 2022                Plaintiffs and Cox to each file a single memorandum in
                                        support of the other parties’ Motions to Seal filed in
                                        connection with the Rule 60 Briefing.

           March 16, 2022               Audible Magic, MarkMonitor, and RIAA to each file a
                                        single memorandum in support of the parties’ Motions to
                                        Seal filed in connection with the Rule 60 Briefing.


  Dated January 3, 2022                                  /s/ Scott A. Zebrak
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